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                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION

 UNITED STATES OF AMERICA

                              VS.                                                CASE NO. 6:21-mj-1584-GJK

 KELLY BROWN


                                                                                          AUSA: Amanda Daniels

                                                       Defense Attorney: Michael Ryan, Federal Public Defender

JUDGE:                GREGORY J. KELLY                 DATE AND TIME:                                July 20, 2021
                      United States Magistrate Judge                                                  2:37-2:42PM
                                                                                                         5 minutes
Courtroom:            3C                               TOTAL TIME:


DEPUTY CLERK:         N. Rodriguez                     REPORTER:                                             Digital
                                                                         Orlando_Digital_Transcripts@flmd.uscourts.gov

INTERPRETER:          None                             PRETRIAL/PROB:                           Ebonie Henderson


                                              CLERK’S MINUTES
                                      INITIAL APPEARANCE (PC ARREST)

 Case called, appearances made, procedural setting by the Court.
 No issue as to competency.
 Court summarizes advises defendant of his rights.
 Court advises government of the requirements pursuant to the Due Process Protections Act.
 Government summarizes the charge in the Complaint and advises of the potential penalties.
 Defendant requests court appointed counsel; Court appoints FPD; Order to enter.
 Government makes oral motion for detention.
 Defendant waives the right to a preliminary hearing.
 Defendant reserves the right to a detention hearing with right to raise at a later date.
 Court grants oral motion without prejudice; Order to enter.
 Defendant is remanded into custody pending further proceedings.
 Court adjourned




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